    Case 4:82-cv-00866-DPM Document 5731-1 Filed 07/01/21 Page 1 of 4




                        JNPSD – School Board Update
                                       June 7, 2021
JNP Middle School
     A.      Schedule Update:
          i. Contractual Substantial Completion: August 06
          ii. Anticipated Substantial Completion: July 08
          iii. Baldwin & Shell & Middle School staff to continue to meet to
          coordinate move.
     B.        Ongoing work
          i.     Q1 – Band/Stage/Cafeteria.
                   1. Kitchen install nearing completion.
                   2. Preliminary punch list item work is ongoing.
                   3. Owner Furniture is being installed on 1st floor. Second Floor to
                   follow mid June.




          ii.    Q2 – Gym
                   1. Bleachers installed.
                   2. Court Striping complete final coats of sealer installed. Final
                   adjustments to gym equipment to follow sealer curing (2-3weeks).




                                                                                         1 of 5
Case 4:82-cv-00866-DPM Document 5731-1 Filed 07/01/21 Page 2 of 4




   iii.   Q3 & Q4 – Admin/Classrooms
           1. Preliminary punch list item work is ongoing.
           2. Owner Furniture is being installed on 1st floor. Second
           Floor to follow mid June.




   iv.    Site
           1.    Earthwork final grading ongoing.
           2.    Curbs installed at bus loop between building and parking lot.
           3.    Site concrete following earthwork final grading.
           4.    Weather in May has slowed progress on all exterior work.




                                                                                 2 of 5
 Case 4:82-cv-00866-DPM Document 5731-1 Filed 07/01/21 Page 3 of 4
                                                              PLAN AREA LEGEND    4

                                                                              2   3
                                                                                      5
JNP Elementary School
      A. Schedule Update:
         i. Contractual Substantial Completion: October 14th, 2021.
         ii. Anticipated Substantial Completion: October 14th, 2021.
      B. Current Work Tasks:
         i. Area 1
                1. Exterior Brick nearing completion.
                2. Skylights installed.




         ii.   Area 2
                 1. Exterior metal wall panels complete.
                 2. Interior framing ongoing, interior masonry progressing.
                 3. Cafeteria area drywall being hung.
Case 4:82-cv-00866-DPM Document 5731-1 Filed 07/01/21 Page 4 of 4
        iii. Area 3
              1. Main entry storefront installed.
               2. Admin area drywall being hung.
               3. Breezeway glass being installed.




                                          d
     iv.   Area 4
             1. First coat of paint being applied in classrooms.
             2. Exterior glass nearing completion.
             3. Second floor permanent lighting installed.




      v.   Area 5 (Gymnasium)
             1. First coat of interior paint applied.
             2. Exterior metal panels installed.
